
835 A.2d 1102 (2003)
378 Md. 175
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
David Hanan GREENBERG, Respondent.
Misc. Docket AG, No. 41, Sept. Term, 2003.
Court of Appeals of Maryland.
November 13, 2003.
ORDER
The Court having considered the Joint Petition of the Attorney Grievance Commission of Maryland and the Respondent, David Hanan Greenberg, to place the Respondent on Inactive Status in the State of Maryland, it is this 13th day of November, 2003
ORDERED, by the Court of Appeals of Maryland, that the Joint Petition be and it is hereby GRANTED, and the respondent, David Hanan Greenberg, is placed on Inactive Status in the State of Maryland, to commence immediately, and it is further
ORDERED, that the Clerk of this Court shall strike the name of David Hanan Greenberg from the register of attorneys and shall certify that fact to the Trustees of the Clients' Protection Fund and the Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772. *1103 *1104
